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                                                                           According to the information required to be entered on this
                                                                           statement (check one box as directed in Part I, III, or VI of this
In re   David T. Smith                                                     statement):
                    Debtor(s)                                                The presumption arises
Case Number:                                                                 The presumption does not arise
                    (If known)                                               The presumption is temporarily inapplicable.

                                 CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                           AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions in
Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should complete
separate statements if they believe this is required by § 707(b)(2)(C).


                                       Part I. MILITARY AND NON-CONSUMER DEBTORS

         Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
         beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
         complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
   1A
           Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran
         (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
         defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
         Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
  1B     verification in Part VIII. Do not complete any of the remaining parts of this statement.

          
           Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

         Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve
         component of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10
         U.S.C. § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense
         activity (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing
         during the time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you
         qualify for this temporary exclusion, (1) check the appropriate boxes and complete any required information in the
         Declaration of Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily
         inapplicable” at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
         are not required to complete the balance of this form, but you must complete the form no later than 14 days after
         the date on which your exclusion period ends, unless the time for filing a motion raising the means test
         presumption expires in your case before your exclusion period ends.

  1C      
           Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
         below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
         component of the Armed Forces or the National Guard


                       a. 
                           I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                   
                                    I remain on active duty /or/
                                   
                                    I was released from active duty on ________________, which is less than 540 days before this
                                       bankruptcy case was filed;
                                  OR
                       b. 
                           I am performing homeland defense activity for a period of at least 90 days /or/
                          
                           I performed homeland defense activity for a period of at least 90 days, terminating on
                            _______________, which is less than 540 days before this bankruptcy case was filed.
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                    Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a.  Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b.  Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                 penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse
                 and I are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy
  2              Code." Complete only Column A ("Debtor's Income") for Lines 3-11.
       c.  Married, not filing jointly, without the declaration of separate households set out in line 2.b above. Complete
                 both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
       d.  Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for
                 Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived during the          Column A       Column B
       six calendar months prior to filing the bankruptcy case, ending on the last day of the month           Debtor's       Spouse's
       before the filing. If the amount of monthly income varied during the six months, you must               Income         Income
       divide the six-month total by six, and enter the result on the appropriate line.

  3    Gross wages, salary, tips, bonuses, overtime, commissions.                                         $              $
       Income from the operation of a business, profession or farm. Subtract Line b from
  4    Line a and enter the difference in the appropriate column(s) of Line 4. If you operate more
       than one business, profession or farm, enter aggregate numbers and provide details on an
       attachment. Do not enter a number less than zero. Do not include any part of the business
       expenses entered on Line b as a deduction in Part V.
         a.    Gross Receipts                                               $
         b.    Ordinary and necessary business expenses                     $
         c.    Business income                                              Subtract Line b from Line a   $              $
       Rent and other real property income. Subtract Line b from Line a and enter the difference in
       the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
       any part of the operating expenses entered on Line b as a deduction in Part V.

  5      a.    Gross Receipts                                               $
         b.    Ordinary and necessary operating expenses                    $
                                                                                                          $              $
         c.    Rent and other real property income                          Subtract Line b from Line a

  6    Interest, dividends, and royalties.                                                                $              $

  7    Pension and retirement income.                                                                     $              $

  8    Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor’s dependents, including child support paid for                $              $
       that purpose. Do not include alimony or separate maintenance payments or amounts paid by
       your spouse if Column B is completed. Each regular payment should be reported in only one
       column; if a payment is listed in Column A, do not report that payment in Column B.

       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your spouse
       was a benefit under the Social Security Act, do not list the amount of such compensation in
  9    Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to
         be a benefit under the Social Security Act           Debtor $           Spouse $                 $              $
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       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance payments
       paid by your spouse if Column B is completed, but include all other payments of
  10   alimony or separate maintenance. Do not include any benefits received under the Social
       Security Act or payments received as a victim of a war crime, crime against humanity, or as a
       victim of international or domestic terrorism.



         a.                                                                        $
       Total and enter on Line 10.                                                                                       $     $

       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and,
  11                                                                                                                     $     $
       if Column B is completed, add Lines 3 thru 10 in Column B. Enter the total(s).

       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line
       11, Column A to Line 11, Column B, and enter the total. If Column B has not been completed,                        $
  12
       enter the amount from Line 11, Column A.

                                        Part III. APPLICATION OF § 707(b)(7) EXCLUSION

       Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
  13   enter the result.                                                                                                       $

       Applicable median family income. Enter the median family income for the applicable state and household size. (This
  14   information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                               $
       a. Enter debtor’s state of residence:                                   b. Enter debtor’s household size:

       Application of Section 707(b)(7). Check the applicable box and proceed as directed.
  15      The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does not
              arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
          The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                           Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15).




                      Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

  16   Enter the amount from Line 12.                                                                                          $

        Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
  17
        Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
        debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
        payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
        dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
        a separate page. If you did not check box at Line 2.c, enter zero.

           a.                                                                                 $

         Total and enter on Line 17 .                                                                                          $

  18   Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                             $

                                   Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                           Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
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        National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
19A     National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
        number of persons is the number that would currently be allowed as exemptions on your federal income tax
        return, plus the number of any additional dependents whom you support.
                                                                                                                          $

       National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Outof-
19B    Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Outof-
       Pocket Health Care for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/
       or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons who are under
       65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or older.
       (The applicable number of persons in each age category is the number in that category that would currently
       be allowed as exemptions on your federal income tax return, plus the number of any additional dependents
       whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the
       result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the
       result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.

         Persons under 65 years of age                            Persons 65 years of age or older
         a1. Allowance per person                                 a2.   Allowance per person
         b1. Number of persons                                    b2.   Number of persons

         c1.   Subtotal                                           c2.   Subtotal
                                                                                                                          $

        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
        and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
20A     available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists
        of the number that would currently be allowed as exemptions on your federal income tax return, plus the
        number of any additional dependents whom you support.                                                             $

        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
        the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
20B     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court)(the applicable
        family size consists of the number that would currently be allowed as exemptions on your federal income tax
        return, plus the number of any additional dependents whom you support); enter on Line b the
        total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
        Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.

         a.      IRS Housing and Utilities Standards; mortgage/rent al     $
                 expense
         b.      Average Monthly Payment for any debts secured by home, if $
                 any, as stated in Line 42.
         c.       Net mortgage/rental expense                              Subtract Line b from Line a                    $

       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
21     Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
       your contention in the space below:
                                                                                                                          $
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       Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
       an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
       and regardless of whether you use public transportation.

       Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 8.    0  1  2 or more.
22A
       If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS           $
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
       the bankruptcy court.)

        Local Standards: transportation; additional public transportation expense. If you pay the operating
22B     expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
        additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
        amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
        the clerk of the bankruptcy court.)                                                                             $

       Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
       which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
       two vehicles.)
             1       2 or more.
       Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
23     (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
       Line a and enter the result in Line 23. Do not enter an amount less than zero.

         a.       IRS Transportation Standards, Ownership Costs              $
         b.       Average Monthly Payment for any debts secured by Vehicle
                  1, as stated in Line 42.                                   $
         c.       Net ownership/lease expense for Vehicle 1                  Subtract Line b from Line a                $


        Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
        the “2 or more” Box in Line 23.
        Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
24      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
        Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
        Line a and enter the result in Line 24. Do not enter an amount less than zero.
         a.       IRS Transportation Standards, Ownership Costs              $
         b.       Average Monthly Payment for any debts secured by Vehicle   $
                  2, as stated in Line 42
         c.       Net ownership/lease expense for Vehicle 2                  Subtract Line b from Line a                $

       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
25     federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
       taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                  $

       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues, and
26     uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                     $
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually
       pay for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
27     whole life or for any other form of insurance.                                                                   $

       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
       required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
28     payments. Do not include payments on past due obligations included in Line 44.                                   $
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         Other Necessary Expenses: education for employment or for a physically or mentally challenged
         child. Enter the total average monthly amount that you actually expend for education that is a condition of
 29      employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                                     $
         whom no public education providing similar services is available.
         Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
 30      childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
         payments.                                                                                                                   $
         Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
 31      on health care that is required for the health and welfare of yourself or your dependents, that is not
         reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
         Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.                        $
         Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
 32      you actually pay for telecommunication services other than your basic home telephone and cell phone
         service— such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
         necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                                                                                     $
         deducted.
 33      Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                         $
                                           Subpart B: Additional Living Expense Deductions
                                 Note: Do not include any expenses that you have listed in Lines 19-32
         Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
         expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
         or your dependents.
           a.     Health Insurance                                    $
 34
           b.     Disability Insurance                                $
           c.     Health Savings Account                              $

                                                                                                                                     $
         Total and enter on Line 34
         If you do not actually expend this total amount, state your actual total average monthly expenditures in
         the space below:
         $

         Continued contributions to the care of household or family members. Enter the total average actual
         monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 35      elderly, chronically ill, or disabled member of your household or member of your immediate family who is                    $
         unable to pay for such expenses.
         Protection against family violence. Enter the total average reasonably necessary monthly expenses that
 36      you actually incurred to maintain the safety of your family under the Family Violence Prevention and                        $
         Services Act or other applicable federal law. The nature of these expenses is required to be kept confidential
         by the court.
         Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
         Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
 37                                                                                                                                  $
         provide your case trustee with documentation of your actual expenses, and you must demonstrate
         that the additional amount claimed is reasonable and necessary.
         Education expenses for dependent children less than 18. Enter the total average monthly expenses that
         you actually incur, not to exceed $147.92* per child, for attendance at a private or public elementary or
 38      secondary school by your dependent children less than 18 years of age. You must provide your case
         trustee with documentation of your actual expenses, and you must explain why the amount claimed is                          $
         reasonable and necessary and not already accounted for in the IRS Standards.




* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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         Additional food and clothing expense. Enter the total average monthly amount by which your food and
         clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
 39      National Standards, not to exceed 5% of those combined allowances. (This information is available at
         www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
         amount claimed is reasonable and necessary.                                                                                 $

         Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
 40      financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                 $


 41      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                                 $

                                                 Subpart C: Deductions for Debt Payment

         Future payments on secured claims. For each of your debts that is secured by an interest in property that
         you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
         Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
         total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
         filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
 42      the total of the Average Monthly Payments on Line 42.
                      Name of           Property Securing the Debt     Average                        Does payment
                      Creditor                                         Monthly                        include taxes
                                                                       Payment                        or insurance?
           a.    Citibank               529 Van Siclen            $ 2,400.00                      
                                                                                                   yes   no
           b.    Citibank               70 Midwood St, Vall Strea $ 2,400.00                      
                                                                                                   yes    no
                                                                                                          
           c.    Chase Bank             529 Van Siclen            $ 98.00                         
                                                                                                   yes   
                                                                                                           no
                                                                                             Total: Add Lines a, b and c             $
         Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
         residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
         you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
         in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
         amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
 43      List and total any such amounts in the following chart. If necessary, list additional entries on a separate
         page.
                        Name of Creditor                 Property Securing the Debt           1/60th of the Cure Amount
           a.                                                                                $
                                                                                                 Total: Add Lines a, b and c         $
         Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 44      as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy                 $
         filing. Do not include current obligations, such as those set out in Line 28.

         Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
         following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
         expense.
           a.    Projected average monthly Chapter 13 plan payment.                      $
           b.    Current multiplier for your district as determined under schedules
 45               issued by the Executive Office for United States Trustees. (This
                  information is available at www.usdoj.gov/ust/ or from the clerk of the
                  bankruptcy court.)                                                         x
           c.     Average monthly administrative expense of Chapter 13 case
                                                                                              Total: Multiply Lines a and b          $

 46       Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                                 $

                                                Subpart D: Total Deductions from Income

 47       Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                 $



* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                   Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

48     Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                           $

49     Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                $

50     Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result                                  $

       60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
51     result.                                                                                                                          $

       Initial presumption determination. Check the applicable box and proceed as directed.

          The amount on Line 51 is less than $7,025* Check the box for “The presumption does not arise” at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
52        The amount set forth on Line 51 is more than $11,725*. Check the box for “The presumption arises” at the top of page 1 of
              this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.

         The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part VI (Lines 53
              through 55).

53     Enter the amount of your total non-priority unsecured debt                                                                       $
54     Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                           $

       Secondary presumption determination. Check the applicable box and proceed as directed.

          The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the top
55            of page 1 of this statement, and complete the verification in Part VIII.

          The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption arises” at
              the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                               Part VII. ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly
       income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
       average monthly expense for each item. Total the expenses.
56
                                              Expense Description                                             Monthly Amount
         a.                                                                                       $
                                                                   Total: Add Lines a, b, and c   $

                                                           Part VIII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
       both debtors must sign.)
  57             Date: 12/8/2012                              Signature: s/ David T. Smith
                                                                           David T. Smith, (Debtor)
